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Eric Sapir (SBN 282740)
es@ericsapirlaw.com
LAW OFFICE OF ERIC SAPIR
11500 Olympic Blvd., Suite 400
Los Angeles, CA 90064
Tel: (310) 444-3058
Fax: (310) 444-3059

Attorney for Plaintiff
RAMON MACARAIG


                    UNITED STATES DISTRICT COURT
               FOR THE CENTRAL DISTRICT OF CALIFORNIA

RAMON MACARAIG,                              Case No.

              Plaintiff,
                                             COMPLAINT FOR DAMAGES
u

VEROS CREDIT LLC,
                                             [JURY TRIAL DEMANDED]
              Defendant.


                                 I. INTRODUCTION

       1.     RAMON MACARAIG ("Plaintiff') brings this action for damages,

and other available legal or equitable remedies, resulting from the illegal actions

of VEROS CREDIT LLC ("Defendant"), in attempts to collect a consumer debt

allegedly owed by Plaintiff.

II

II




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                               II. JURISDICTION AND VENUE
 2
           2.       Jurisdiction of this court arises pursuant to 15 US. C. 1692k(d),
 3

 4   which states that such actions may be brought and heard before "any appropriate
 5
     United States district court without regard to the amount in controversy," and 28
 6

 7   Us. c. 1367 grants this court supplemental jurisdiction over the state claims
 8
     contained therein.
 9

10
            3.      Defendant conducts business in the state of California, and therefore,

II   personal jurisdiction is established. Venue is proper pursuant to 28 US. C.
12
     1391(b) (2).
13

14         4.       Declaratory relief is available pursuant to 28 U.S. C. 2201 and 2202.
15

16                                      III. PARTIES
17
            5.      Plaintiff RAMON MACARAIG is, and at all times mentioned herein
18
     was, an individual citizen of the State of California, and resident of the County of
19

20   Los Angeles.
21
            6.      Upon information and belief, Defendant, VEROS CREDIT LLC is a
22

23   limited liability company with its headquarters in Los Angeles County, with
24
     offices/locations in the counties of Los Angeles and Orange. Defendant is wholly
25

26
     responsible for the injuries to Plaintiff as set forth below.

27   //
28
     //

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      7.     Defendant is engaged in the collection of debts from consumers

using the mail and telephone. Defendant regularly attempts to collect consumer

debts alleged to be due to another.

      8.     Plaintiff is a "consumer" as defined by the Fair Debt Collection

Practices Act ("FDCPA"), 15 U.S.C. 1692a(3), and a "debtor" as defined by the

Rosenthal Fair Debt Collection Practices Act ("RFDCPA"), California Civil Code

1788.2(h).

      9.     The purported debt that Defendant attempted to collect from Plaintiff

was a "debt" as defined by the FDCPA, 15 U.S.C. §1692a(5) and a "consumer

debt" as defined by the Rosenthal Act, California Civil Code § 1788.2(f).

       10.   Defendant is a debt collector as that term is defined by 15 U.S.C.

1692a(6) and Cal. Civ. Code § 1788.2(c), and sought to collect a consumer debt

from Plaintiff.

       11.   Defendant acted through its agents, employees, officers, members,

directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,

representatives, and insurers.

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                             IV. FACTUAL ALLEGATIONS
2
           12. In or about October, 2015, and on multiple dates prior and after,
3

4    Defendant called Plaintiff seeking and demanding payment for an alleged
 5
     consumer debt (the "alleged debt") owed by Plaintiff for an automobile loan.
 6

 7         13. The alleged debt is claimed to have been used primarily for personal,
 8
     family, or household purposes.
 9

10
           14. Defendant failed to disclose in the initial communication that the

11   communication is from a debt collector and/or that they are attempting to collect a
12
     debt and any information obtained will be used for that purpose.
13

14         15.     On October 15, 2015, Defendant falsely stated that Plaintiff owed a
15
     total sum of $493.40, which 31 days past due, when in fact, the total of $150.37
16

17
     was past due 31 days, while $343.00 was past due 1 day.
18         16. Defendant called Plaintiff at his workplace and threatened that
19
     within 20 minutes, the vehicle would be seized unless payment was made.
20

21         17. To date, Plaintiffs automobile has not been seized.
22
           18. Plaintiff did not provide Defendant with his employment telephone
23

24   number, nor did her provide Defendant with consent to call him at his place of
25
     employment.
26
           19.     The calls to Plaintiffs employer caused a great deal of
27

28   embarrassment to Plaintiff.


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             20. Defendant stated that it was illegal to accept payment via credit card
 2
     and that this policy stems from a law that came into effect in August, 2011.
 3

 4           21. Defendant falsely stated and/or implied that Plaintiff and his wife

     have had previous cars repossessed.

             22.   Plaintiff requested that he no longer wanted to be on Defendant's

     automated calling system. Defendant failed to honor Plaintiffs requests and

     continued to contact Plaintiff with an automated calling system.

             23.   Defendant called Plaintiff on several occasions even though Plaintiff

     discussed a payment plan and his requests to cease contact.

             24.   Plaintiff has no contractual relationship with Defendant. When

     Plaintiff requested the alleged contract, Defendant threatened Plaintiff with

     repossession.

             25.   Due to the constant harassment, Plaintiff paid of the full balance for

     the alleged debt. Nevertheless, Defendant continued to call Plaintiff even after

     being requested to cease contact.

             26.   To date, Plaintiff has not been served with a lawsuit by Defendant.

             27.   To date, Plaintiff has not been sued by Defendant for the alleged

     debt.



28




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           28. Within five days of Defendant's first contact with Plaintiff,
 2
     Defendant failed to send Plaintiff a written notice that included the following
 3

 4   required by the FDCPA:
 5
                  (1) the amount of the debt;
 6

 7                (2) the name of the creditor to whom the debt is owed;
 8
                  (3) a statement that unless the consumer, within thirty
 9                days after receipt of the notice, disputes the validity of
10
                  the debt, or any portion thereof, the debt will be assumed
                  to be valid by the debt collector;
11

12                (4) a statement that if the consumer notifies the debt
                  collector in writing within the thirty-day period that the
13
                  debt, or any portion thereof, is disputed, the debt
14                collector will obtain verification of the debt or a copy of
                  a judgment against the consumer and a copy of such
15
                  verification or judgment will be mailed to the consumer
16                by the debt collector; and
17
                  (5) a statement that, upon the consumer's written request
18
                  within the thirty-day period, the debt collector will
19                provide the consumer with the name and address of the
                  original creditor, if different from the current creditor.
20

21                (15   Usc 1692g).
22
           29. Within five days of Defendant's first contact with Plaintiff,
23

24   Defendant failed to send Plaintiff a written notice that included the following
25
     language required by the RFDcPA:
26

27
                  The state Rosenthal Fair Debt collection Practices Act
                  and the federal Fair Debt collection Practices Act require
28                that, except under unusual circumstances, collectors may
                  not contact you before 8 a.m. or after 9 p.m. They may

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                  not harass you by using threats of violence or arrest or by
 2                using obscene language. Collectors may not use false or
                  misleading statements or call you at work if they know or
                  have reason to know that you may not receive personal
 4                calls at work. For the most part, collectors may not tell
 5
                  another person, other than your attorney or spouse, about
                  your debt. Collectors may contact another person to
 6                confirm your location or enforce a judgment. For more
 7                information about debt collection activities, you may
                  contact the Federal Trade Commission at 1-877-FTC-
 8
                  HELP or www.flc.gov .
 9

10
                  (Cal. Civ. Code § 1812.700).

11         30. Plaintiff is informed and believes, and thereon alleges, that on
12
     multiple occasions over numerous days, all prior to the date this Complaint was
13

14   filed, but sometime after four years prior to the date this Complaint was filed,
15
     Defendants contacted Plaintiff on Plaintiff's telephone on several occasions
16

17
     without Plaintiff's consent.
18
           31. As of the date of the filing of this Complaint, Plaintiff has never
19
     entered into a written contract with Defendant relating to the alleged debt.
20

21         32.    In regard to each of the calls to Plaintiff's telephone:
22
                  (a)    Plaintiff was a "recipient" as this term is used in 47 U.S.C.
23

24                       §227, et seq.;
25
                  (b) Each call was initiated for the purpose of encouraging the
26

27
                         purchase or rental of, or investment in, property, goods, or

28




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                         services and, therefore, each was a "telephone solicitation" as
 2
                         defined in 47 U.S.C. §227(a)(3).
 3

 4         33. In regard to each call, Defendant or their authorized agents
 5
     knowingly and/or willfully:
 6

 7                a. called without Plaintiff's prior express consent;
 8
                  b. Made the call using an automated dialer;
 9

10
                  c. Failed to maintain a record of Plaintiff's previous demand that the

11                    caller place Plaintiff's name on its Do-Not-Call List;
12
                  d. Failed to honor Plaintiff's previous demand that the caller place
13

14                    Plaintiff's name on its Do-Not-Call List; and
15
                  e. Failed to record Plaintiff's name and/or telephone number on its
16

17
                      Do-Not-Call List; and
18                f. Failed to train the caller's live representative in the maintenance
19
                      and use of its Do-Not-Call List.
20

21         34. As a direct result of Defendant's acts and omissions, Plaintiff has
22
     suffered and continues to suffer severe emotional distress.
23

24         35.    Defendants acted through its agents, employees, officers, members,
25
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
26
     representatives, and insurers.
27

28   1/


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                        COUNT I: VIOLATION OF THE FAIR DEBT
 2                         COLLECTION PRACTICES ACT
 3
            36. Plaintiff reincorporates by reference all of the preceding paragraphs.
 4

 5
            37. Defendant violated the FDCPA based on the following:

 6                a.        Defendant violated § 1692d of the FDCPA by engaging in
 7
     conduct the natural consequence of which is to harass, oppress, or abuse any
 8

 9   person.
10
                  b.        Defendant violated §1692d(1) of the FDCPA by using or
11

12   threating criminal means to harm the physical person, reputation, or property of
13
     Plaintiff.
14
                   C.       Defendant violated §1692d(2) of the FDCPA by using
15

16   obscene or profane language or language the natural consequence of which is to
17
     abuse the Plaintiff.
18

19                 d.       Defendant violated § 1 692e(2)(A) by falsely representing
20
     the character, amount, or legal status of Plaintiff's debt.
21

22
                   e.       Defendant violated § 1692e(4) by representing or implying

23   that nonpayment of Plaintiff's debt would result in the seizure, garnishment,
24
     attachment, or sale of Plaintiff's property or wages, where such action is not
25

26   lawful or Defendant did not intend to take such action.
27

28




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                   e.     Defendant violated § 1 692e(5) by threatening to take an action
 2
      against Plaintiff that cannot be legally taken or that was not actually intended to
 3
 41
      be taken.
 5
                   f.     Defendant violated § 1692e(7) by falsely representing or
 6

 7    implying that the Plaintiff committed any crime or other conduct in order to
 8
      disgrace the consumer.
 9
                   g.     Defendant violated § 1692e(1 O) by using false representations
10

11    and deceptive practices in connection with collection of the alleged debt.
12
                   h.     Defendant violated § 1 692e( 11) by failing to notify Plaintiff
13

14    that the communication was an attempt to collect a debt and any information
15
      obtained would be used for that purpose.
16

17
                   i.     Defendant violated §1692g(a)(1) by failing to send Plaintiff a
18    written notice within five days of the initial communication that included the
19
      following: the amount of the debt.
20

21                 j.      Defendant violated § 1 692g(a)(2) by failing to send Plaintiff a
22
      written notice within five days of the initial communication that included the
23

24    following: the name of the creditor to whom the debt is owed.
25
                   k.     Defendant violated § 1692g(a)(3) by failing to send Plaintiff a
26

27
      written notice within five days of the initial communication that included the

28    following: a statement that unless the consumer, within thirty days after receipt of


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     the notice, disputes the validity of the debt, or any portion thereof, the debt will
 2
     be assumed to be valid by the debt collector.
 3

 4                 1.    Defendant violated § 1 692g(a)(4) by failing to send Plaintiff a
 5
     written notice within five days of the initial communication that included the

 7   following: a statement that if the consumer notifies the debt collector in writing
 8
     within the thirty-day period that the debt, or any portion thereof, is disputed, the
 9

10
     debt collector will obtain verification of the debt or a copy of a judgment against

II   the consumer and a copy of such verification or judgment will be mailed to the
12
     consumer by the debt collector.
13

14                 M.    Defendant violated §1692g(a)(5) by failing to send Plaintiff a
15
     written notice within five days of the initial communication that included the
16

17
     following: a statement that, upon the consumer's written request within the thirty-
18
     day period, the debt collector will provide the consumer with the name and
19
     address of the original creditor, if different from the current creditor.
20

21                 n.    Defendant violated § 1 692c(b) by communicating with third
22
     parties without obtaining Plaintiff's prior consent.
23

24                 o.    Defendant violated §1692d(5) by causing Plaintiff's telephone
25
     to ring repeatedly or continuously with intent to harass, annoy or abuse Plaintiff.
26

27
                   p.    Defendant violated §1692c(a) by calling Plaintiff's place of

28   employment.


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             q.    Defendant violated §1692f(1) by attempting to collect an

amount no expressly authorized by the agreement creating the debt or permitted

by law.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully prays that judgment be entered

against Defendant for the following:

             A.    Declaratory judgment that Defendant's conduct violated the

FDCPA;

             B.    Actual damages;

             C.     Statutory damages;

             D.    Punitive damages;

             E.    Costs and reasonable attorney's fees; and,

             F.    For such other and further relief as may be just and proper.

            COUNT II: VIOLATION OF THE ROSENTHAL FAIR
                DEBT COLLECTION PRACTICES ACT

      38.    Plaintiff repeats and realleges all of the allegations in Count I of

Plaintiffs Complaint as the allegations in Count II of Plaintiff's Complaint.

      39.    To the extent that Defendant's actions, counted above, violated the

RFDCPA, those actions were done knowingly and willfully.

      40.    Defendant violated the RFDCPA based on the following:



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                  a.    Defendant violated the § 1788.17 of the RFDCPA by
2
     continuously failing to comply with the statutory regulations contained within the
3

4    FDCPA, 15 U.S.C. § 1692 et seq.
 5
                  b.    Defendant violated the Cal. civ. code § 18 12.700 by failing to
 6

 7   include the specific language required by § 18 12.700.
 8
                                  PRAYER FOR RELIEF
 9
           WHEREFORE, Plaintiff respectfully prays that judgment be entered
10

II   against the Defendant for the following:
12
                  A.    Declaratory judgment that Defendant's conduct violated the
13

14   RFDCPA;
15
                  B.    Actual damages;
16

17
                  C.     Statutory damages for willful and negligent violations;
18                D.    Punitive Damages;
19
                  E.    Costs and reasonable attorney's fees,
20

21                F.    For such other and further relief as may be just and proper.
22

23
          COUNT III: VIOLATION OF TCPA AND TCPA REGULATION
              47 U.S.C. 227(c)(5)(B) and 47 C.F.R. 64.1200(d)(2)
24
           41.    Plaintiff hereby incorporates, as if fully rewritten herein, all
25

26   foregoing paragraphs.
27
           42.    In placing calls to deliver a telephone solicitation to Plaintiffs
28

     telephone, and failing to train the person making the call in the proper

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     maintenance and use of its Do-Not-Call List, Defendant knowingly and/or
 2
     willfully violated 47 U.S.C. §227(c)(5)(B) and 47 C.F.R. §64.1200(d)(2).
 3

 4         43. Because Defendant knowingly and/or willfully violated 47 U.S.C.
 5
     §227(c)(5)(B) and 47 C.F.R. §64.1200(d)(2), Plaintiff is entitled to an award of
 6

 7   statutory treble damages in the amount of $1,500.
 8
           COUNT IV: VIOLATION OF TCPA 47 U.S.C. 227(b)(1)(A)(iii)
 9

10
           44. Plaintiff hereby incorporates, as if fully rewritten herein, all of the

     foregoing paragraphs.
12
           45.    In initiating calls using an automatic telephone dialing system or an
13

14   artificial or prerecorded voice to Plaintiff's telephone, Defendant violated 47
15
     U.S.C. §227(b)(1)(A)(iii) and, therefore, Plaintiff is entitled to an award of
16

17
     statutory damages in the minimum amount of $500 for this violation.
18         46.    Defendant's conduct, in initiating calls to Plaintiff's telephone using
19
     an automatic telephone dialing system or an artificial or prerecorded voice to
20

21   Plaintiff's telephone constitutes a knowing and/or willful violation of 47 U.S.C.
22
     §227(b)( 1 )(A)(iii) and, therefore, Plaintiff is entitled to an award of statutory
23

24   treble damages in the amount of $1,500 for this violation.
25
     II
26

27
     II

28   II


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           COUNT V: VIOLATION OF TCPA AND TCPA REGULATION
 2             47 U.S.C. 227(c)(5)(B) and 47 C.F.R. 64.1200(d)(3)
 3
           47.    Plaintiff hereby incorporates, as if fully rewritten herein, all of the
 4

 5
     foregoing paragraphs.

 6         48.    In placing calls to deliver telephone solicitations to Plaintiffs
 7
     telephone, and failing to record Plaintiff's name and/or telephone number on its
 8

 9   Do-Not-Call List pursuant to Plaintiff's request, Defendant knowingly and/or
10
     willfully violated 47 U.S.C. §227(c)(5)(B) and 47 C.F.R. §64.1200(d)(3).
11

12         49. Because Defendant knowingly and/or willfully violated 47 U.S.C.
13
     §227(c)(5)(B) and 47 C.F.R. §64.1200(d)(3), Plaintiff is entitled to an award of
14
     statutory treble damages in the amount of $1,500.
15

16                                PRAYER FOR RELIEF
17
           WHEREFORE, Plaintiff hereby prays for the following relief on the
18

19   foregoing claims against Defendant:
20
           A.     For a declaratory judgment that Defendant's conduct violated the
21

22
     TCPA;

23         B.     For an award of statutory damages in Plaintiffs favor and against
24
     Defendant in the amount of $500 for each of Defendant's violations of 47 U.S.C.
25

26   §227(c) and/or the regulations promulgated thereunder, pursuant to 47 U.S.C.
27
     §227(c)(5)(B);
28




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      C.     For an award of statutory damages in Plaintiff's favor and against

Defendant in the amount of $1500 for each of Defendants' knowing and/or

willful violations of 47 U.S.C. §227(c) and/or the regulations promulgated

thereunder, pursuant to 47 U.S.C. §227(c)(5)(C);

      D.     For an award of statutory damages in Plaintiff's favor and against

Defendant in the amount of $500 for each of Defendant's violations of 47 U.S.C.

§227(b) and/or the regulations promulgated thereunder, pursuant to 47 U.S.C. §

227(b)(3 )(B);

      E.     For an award of statutory damages in Plaintiff's favor and against

Defendant in the amount of $1500 for each of Defendants' knowing and/or

willful violations of 47 U.S.C. §227(b) and/or the regulations promulgated

thereunder, pursuant to 47 U.S.C. § 227(b)(3)(B).

      F.     For actual damages;

      G.     For such other and further relief as the Court may deem just and

proper.

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                 PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY
 2
            PLEASE TAKE NOTICE that Plaintiff RAMON MACARAIG demands a
 3

 4   jury trial in this case.
 5

 6   Dated: April 25, 2016                     LAW OFFICE OF ERIC SAPIR
 7

 8                                             By:
 9
                                                     Eric Sapir
                                                     Attorney for Plaintiff
10                                                   RAMON MACARAIG
11

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